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IN THE UNITED STATES I)ISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
IVETTE SALAZAR, )
Plaintiff, §
vs. § No. l 8-cV-00217
JOLIET JUNIOR COLLEGE, et. al ., § Judge Kennelly
Defendants. §
)

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
IT IS HEREBY STIPULATED, pursuant to Federal Rule of CiVil Procedure
4l(a)(1)(A)(ii), that this action and all claims brought by Plaintiff Ivette Salazar against Defendant
Joliet Junior College and all other former and current Defendants are dismissed with prejudice,
and further, that the parties shall bear their own costs, including attorney’s fees.
Dated: April 18, 2018 Respectfully submitted,

By: /s/ Patrick J. Rocks
One of Defendants’ Attorneys

Patrick J. Rocks

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By: /s/ Brynne Sasha Madway
One of Plaintiff’ s Attorneys

Brynne Sasha Madway

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By: /s/ Marieke Tuthill Beck-Coon
One of Plaintiff’s Attorneys

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CERTIFICATE OF SERVICE

I, Patrick J. Rocks, an attorney, certify that on this 18th day of April, 2018 a true and correct
copy of the foregoing JOINT STIPULA TION 0F DISMISSAL WITH PREJUDICE Was
electronically filed With the Clerk of the U.S. District Court for the Northern District of Illinois
using the CM/ECF system, and that same Will therefore be electronically served upon all counsel

of record.

/s/ Patrick J. Rocks

 

